                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
              v.                                   )      CASE NO. DNCW 3:03CR209-3
                                                   )      (Financial Litigation Unit)
NATASHA SUTHERLAND,                                )
AKA/NATASHA KUPRICE SUTHERLAND                     )
and                                                )
                                                   )
ACN COMMUNICATION SERVICES, INC.,                  )
                                                   )
                     Garnishee.                    )


                       DISMISSAL OF WRIT OF GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Garnishment as to ACN Communications Services, Inc., filed in

this case on July 28, 2010, against the defendant Natasha Sutherland is DISMISSED.



                                               Signed: September 22, 2010




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